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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NEW YORK
                                                     §
                                                     §
 In re:                                              §         Case No.: 8:16-74455-ast
                                                     §
                                                     §
 ANTHONY T. ROSS JR.,                                §         Chapter 7
                                                     §
                                                     §
                         Debtor.                     §
                                                     §

          BANK OF AMERICA, N.A.’S OPPOSITION TO DEBTOR’S COMPLAINT
          FOR VIOLATIONS OF AUTOMATIC BANKRUPTCY STAY, DAMAGES
           AND SANCTIONS AGAINST CREDITOR FOR WILLFUL VIOLATION
                       PURSUANT TO SECTION 362 (A), (H)

          Bank of America, N.A. files this Opposition to Debtor’s Complaint for Violations of

Automatic Bankruptcy Stay, Damages, and Sanctions Against Creditor for Willful Violation

Pursuant to Section 362(a), (h) (the “Motion”). In the Motion, Debtor alleges that Bank of

America violated the automatic stay in this bankruptcy case by virtue of a May 1, 2018

foreclosure sale conducted with respect to a property in which Debtor has an interest (the

“Property”). Debtor requests that the foreclosure sale be rescinded and that Bank of America,

together with its counsel, Rubin Lublin, LLC, be sanctioned for a willful violation of the

automatic stay.

          The Motion should be denied. Bank of America has already rescinded the foreclosure

sale. And, regardless of whether the foreclosure sale was in fact a technical violation of the

automatic stay, sanctions are entirely inappropriate in this case. The precise facts surrounding

Debtor’s interest in the Property remain unclear. At least one other entity—a Georgia

corporation named NU Alliance Company—has filed a lawsuit seeking a declaration that it owns

the Property. Indeed, that entity also filed a bankruptcy case shortly before the foreclosure sale,


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filed a request for sanctions—subsequently denied by the bankruptcy court—against Bank of

America and its counsel strikingly similar to Debtor’s Motion pending before this Court.

Debtor’s relationship with NU Alliance Company is also unclear: although a dispute may now

exist between Debtor and NU Alliance Company regarding ownership of the Property, one of the

apparent principals of NU Alliance Company previously purported to act for Debtor with respect

to this bankruptcy case.

       Although the exact nature of Debtor’s interest in and dealings regarding the Property are

unclear, this much is not: Although Debtor filed this bankruptcy case in September 2016, until

April 26, 2018—just days before the foreclosure of which Debtor complains—not one of the

pleadings he filed in this case made any reference to the Property. In other words, to the extent

Debtor actually possesses any interest in the property, he entirely failed to disclose it to the Court

or to the chapter 7 trustee at any time prior to Bank of America’s attempt to foreclose on the

Property in April 2018. Debtor similarly failed to provide notice of the bankruptcy case to Bank

of America until the eve of the foreclosure sale. Because Bank of America believed, based on its

initial review of the case, that the bankruptcy had already concluded, it proceeded with the

foreclosure sale on May 1, 2018. That decision was likely incorrect: regardless, Bank of

America has corrected it by rescinding the foreclosure. All that remains is Debtor’s request for

sanctions against Bank of America based on the foreclosure sale. The Court should not permit a

debtor who has so clearly flouted his obligations under the Bankruptcy Code to seek sanctions

against his creditors for such a technical violation

                                         BACKGROUND

       1.      On September 24, 2007, Debtor Anthony Ross and Doris Ross executed a security

deed granting to Bank of America a security interest in property located at 5801 Rock Springs

Road, Lithonia, Georgia (the “Mortgage,” secured by the “Property”). A copy of the Mortgage
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is annexed here as Exhibit A. The Mortgage secured a Home Equity Line of Credit Account (the

“Loan”) established the same day, with Bank of America as the lender and Doris Ross as the

borrower. A copy of the Loan Agreement is annexed hereto as Exhibit B.

       2.        The Loan has been in default for some years. Doris Ross last made a payment to

Bank of America on account of the Loan on May 28, 2015, and the Loan is currently due for

June 2015. A payment history for the Loan is annexed hereto as Exhibit C.

       3.        Debtor filed this chapter 7 bankruptcy case on September 28, 2016. Dkt. 1.

Debtor did not include Bank of America among the creditors listed on the list of creditors

accompanying his bankruptcy petition. Dkt. 1, at 17. The bankruptcy petition and all

accompanying documents were signed by “LaZerrick Lawrence P.O.A. for Anthony T. Ross Jr.”

       4.        Debtor filed schedules on November 21, 2016. Dkt. 14. In Debtor’s Schedule

A/B, he claimed to possess an interest in three residential properties—not including the Property,

which was nowhere referenced in Debtors’ Schedules. 1 Dkt. 14, at 1. Debtor did not identify

Bank of America as either a secured or an unsecured creditor. Dkt. 14, Schedules D, E/F.

Rather, the only reference Debtor made to Bank of America in his schedules was to note that he

owned a Bank of America checking account containing $5,800 in cash. Schedule A/B. Debtor’s

Statement of Intention explained as to each of the properties identified on Schedule A that he

intended to retain the property and enter into a reaffirmation agreement; Debtor again, however,

made no reference to the Property or to any secured claim owed to Bank of America. Dkt. 14,

Official Form 108. And Debtor’s updated creditor matrix again did not include Bank of

America.




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           Debtor’s schedules do make clear that the Property is not his principal residence.
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       5.      On January 12, 2017, Debtor filed updated schedules. Again, Debtors’ schedules

nowhere identified Bank of America as a creditor nor described any interest that Debtor owned

in the Property. Dkts. 27, 30.

       6.      On March 7, 2017, this Court entered an order granting Debtor a chapter 7

discharge. Dkt. 32. That same day, it appears that Debtor executed a document described as a

“Quit Claim Deed Joint Tenancy with Survivorship” (the “Quitclaim Deed”), a copy of which is

annexed hereto as Exhibit D. Debtor purported, through the Quitclaim Deed, to transfer his

interest in the Property to grantees NU Alliance Company and M & M Marketing Company, as

well as Debtor himself, as joint tenants with right of survivorship, reciting a consideration of

nineteen dollars. Ex. D, at 1. Debtor also retained a life estate in the Property. Ex. D, at 2.

Debtor did not disclose the Quitclaim Deed to the Court or seek approval from this Court to enter

into the transaction it purported to effect. Georgia law provides that a deed conveying land shall

be recorded in the office of the clerk of the superior court of the country where the land is

located. Ga. Code Ann. § 44-2-1 (2010). Although the Quitclaim Deed was executed on March

7, 2017, it was not recorded with the clerk of the DeKalb County Superior Court until April 24,

2018. See Ex. D, at 1. 2



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          Bank of America presumes that any purported transfer of the Property pursuant to the
Quitclaim Deed was void. Pursuant to 11 U.S.C. § 362(c)(1), in a chapter 7 case, the automatic
stay of acts against property of the estate “continues until such property is no longer property of
the estate.” In a chapter 7 case, property of the estate does not revest in the debtor upon
discharge. Rather, the trustee is charged with “collect[ing] and reduc[ing] to money the property
of the estate,” id. § 704(a)(1), and distributing the proceeds of such property to creditors in
accordance with the priorities set forth in section 726 of the Bankruptcy Code, but may, “[a]fter
notice and a hearing … abandon any property of the estate that is burdensome to the estate or
that is of inconsequential value and benefit to the estate,” id. § 554. It does not appear that the
trustee abandoned any interest of the bankruptcy estate in the Property. Thus, to the extent that
the Debtor had any interest in the property when he filed this bankruptcy case, as of the time the
Quitclaim Deed was executed, the Property remained property of the bankruptcy estate and the
Debtor lacked authority to transfer it.
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       7.      Subsequent to the entry of a discharge, on April 28, 2017, the chapter 7 trustee

filed a Notice of Discovery of Assets, indicating that payment of a dividend to creditors was

possible and setting a bar date for the filing of claims. Dkt. 35. On January 5, 2018, the trustee

filed a Report of No Distribution indicating that no property was available for distribution to

creditors and that $546,060 in assets would be abandoned back to Debtor.

       8.      On April 26, 2018, more than eighteen months after the filing of this chapter 7

case, and more than a year after receiving his discharge, Debtor filed updated schedules for the

first time identifying Bank of America as a secured creditor. Debtor’s amended Schedule A/B

details a total of $105,000 in secured debt owed to Bank of America, although those debts are

described as disputed. Dkt. 81. Although Debtor notes that those debts are secured by the

Property, he values that collateral at zero. Dkt. 81. Debtor also filed an amended Statement of

Financial Intention indicating a desire to retain and redeem the Property. Dkt. 82. Debtor still

has not filed an amended Schedule A/B, or any other document, indicating ownership of any

interest in the Property. Following the filing of Debtor’s amended schedules, on April 30, 2018,

the chapter 7 trustee filed a rescission of his previous Report of No Distribution. Dkt. 85.

       9.      On April 30, 2018, NU Alliance Company, one of the purported grantees of the

Property pursuant to the Quitclaim Deed, filed a chapter 7 bankruptcy case in the U.S.

Bankruptcy Court for the Middle District of Florida. In re NU Alliance Company, No. 8:18-bk-

03533 (Bankr. M.D. Fla.).

       10.     On May 1, 2018, the Property was sold at auction pursuant to non-judicial

foreclosure sale conducted in DeKalb County, Georgia (the “Foreclosure Sale”), and acquired by

a third-party buyer.




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       11.     On May 7, 2018, Debtor filed his Notice of Complaint for Violations of

Automatic Bankruptcy Stay, Damages, and Sanctions Against Creditor for Willful Violation

Pursuant to Section 362 (a), (h), alleging that the Foreclosure Sale violated the automatic stay,

and seeking rescission of the foreclosure and actual and punitive damages.

       12.     On or around May 4, 2018, NU Alliance Company filed a Petition for Quiet Title

and Possession, Declaratory Judgment for Equitable Relief, and Creditors’ Willful Violations of

Automatic Bankruptcy Stay in the Superior Court of Dekalb County Georgia (the “Georgia State

Court Action”). NU Alliance Company v. Bank of America, N.A., No. 18-cv-4891 (Ga. Sup. Ct.).

Debtor is not a party to the Georgia State Court Action, which alleges that Debtor transferred the

Property to NU Alliance Company and M & M Marketing Company pursuant to the Quitclaim

Deed on March 7, 2017 and seeks a declaration that NU Alliance Company owns the Property.

Because NU Alliance Company filed its own bankruptcy case on April 30, 2018, the Georgia

State Court Action alleges that the Foreclosure Sale violated the automatic stay in the NU

Alliance Company bankruptcy case. And on May 14, 2018, NU Alliance Company filed an

unsigned Complaint for Violations of Automatic Bankruptcy Stay, Damages and Sanctions

Against Creditor For Willful Violation Pursuant to Section 362(a), (h), 3 with the same date as

and substantially similar in content to Debtor’s Motion, similarly alleging that Bank of America

and its counsel violated the automatic stay in the NU Alliance Company bankruptcy case through

the Foreclosure Sale. The Bankruptcy Court for the Middle District of Florida entered an order

dismissing this adversary complaint on June 12, 2018. Order, Dkt. 11, NU Alliance Company v.



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         The Bankruptcy Court for the Middle District of Florida elected to treat this pleading as
an adversary complaint filed against Rubin Lublin, LLC, Bank of America’s counsel with
respect to the Foreclosure Sale. NU Alliance Company v. Law Office of Rubin Lublin, LLC, A.P.
No. 8:18-ap-00241 (Bankr. M.D. Fla. May 29, 2018).

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Law Office of Rubin Lublin, LLC, A.P. No. 8:18-ap-00241 (Bankr. M.D. Fla. June 12, 2018). On

the same day, that court entered an order dismissing the NU Alliance Company bankruptcy case.

Order Dismissing Case, In re NU Alliance Company, No. 8:18-bk-03533 (Bankr. M.D. Fla. June

12, 2018).

       13.     On May 14, 2018, Bank of America rescinded the foreclosure sale of the

Property. A copy of the notice of rescission of the sale is annexed hereto as Exhibit E.

       14.     On June 21, 2018, the Debtor filed a Motion to Strike Trustee Request to Rescind

Report of No Distribution. Dkt. 88. The chapter 7 trustee filed an opposition to that motion on

June 29, 2018, in which he confirmed that the Debtor had, at no time prior to April 26, 2018,

disclosed to the trustee that he had any ownership interest in the Property. Dkt. 92, at 2. The

Court has set a status conference on the trustee’s notice of rescission of his Report of No

Distribution for July 24, 2018. 4 No hearing has been set on Debtor’s Motion.

                                          ARGUMENT

       Debtor’s request for sanctions for violations of the automatic stay should be denied. As a

preliminary matter, Debtor simply lacks standing to pursue such a claim. Debtor has already

received a chapter 7 discharge. Dkt. 32. Following entry of the discharge the automatic stay

ceases to protect the debtor personally. 11 U.S.C. § 362(c)(2)(C). 5 Instead, the stay extends

only to acts to obtain possession of, exercise control over, or enforce a lien against property of

the estate. §§ 362(a)(3)-(4), 362(c)(1). But it is the trustee, not the debtor, who has standing to

enforce rights of the chapter 7 estate. See, e.g., In re Young, 439 B.R. 211, 217–218 (Bankr. M.

D. Fla. 2010) (holding that debtor lacked standing to move for violation of automatic stay when a



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          Bank of America has no objection to the chapter 7 trustee’s request to rescind his report
of no distribution.
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          All statutory citations are to the Bankruptcy Code, 11 U.S.C.
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bank froze accounts that were transferred to the estate); In re Bucchino, 439 B. R. 761, 767–768

(Bankr. D.N.M. 2010) (same). The Motion should be denied on that basis.

       Even assuming Debtor has standing to pursue the claims he asserts against Bank of

America, those claims are meritless. Bank of America does not dispute that the Property

remained property of the bankruptcy estate at the time of the foreclosure sale. § 554(c) (properly

scheduled property of the estate not administered by the trustee is abandoned back to the debtor

only at the time the case is closed). As a technical matter, therefore, Bank of America’s

foreclosure sale—since rescinded—likely violated the automatic stay. See § 362(c)(1) (stay of

acts against property of the estate continues until such property is no longer property of the

estate). Debtor’s conduct with respect to the Property, and his disregard for his obligations under

the Bankruptcy Code, should preclude any attempt by Debtor to seek sanctions in this case.

       At the outset of his or her bankruptcy case, a debtor is required to disclose all his assets.

§ 521(a)(1)(B). Those disclosures are critical: they permit the chapter 7 trustee to evaluate

whether any non-exempt property exists that can be liquidated for the benefit of creditors. For

that reason, “the Bankruptcy Code severely penalizes debtors who fail to disclose assets.”

Chartschlaa v. Nationwide Ins. Co., 538 F.3d 116, 122 (2d Cir. 2008) (per curiam). Debtor did

not comply with the requirements of the Bankruptcy Code when he commenced this case.

Instead, he disclosed his interest in the Property to this Court over eighteen months later. As

Debtor’s own Motion makes clear, Debtor provided notice of his bankruptcy to Bank of America

on the same day that he added Bank of America to his schedules—five days before the scheduled

foreclosure sale of the Property. The timing of that disclosure makes plain that Debtor attempted

purposefully to conceal the Property’s existence from the Court until faced with the prospect of

foreclosure. A debtor who conceals an asset from his schedules to prejudice his creditors is



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acting in bad faith. See, e.g., In re Grogan, 300 B.R. 804, 807–809 (Bankr. D. Utah 2003); In re

Raggie, 389 B.R. 309, 313 (Bankr. E.D.N.Y. 2008). Under such circumstances, an award of

damages to Debtor amounts to little more than a windfall. The Court should not reward Debtor’s

bad faith in this way.

       Indeed, Debtor’s conduct would likely provide a basis for the court to grant retroactive

relief from stay. See, e.g., In re Froman, 566 B.R. 641, 654 (S.D.N.Y. 2017). Section 362(d)(1)

allows the Court to modify a stay for cause, and “cause” has been repeatedly interpreted to

include bad faith acts by debtors. See In re Kalpan Breslaw Ash LLC, 264 B.R. 309, 334 (Bankr.

S.D.N.Y. 2001) (citing In re C–TC 9th Ave. Partnership, 113 F.3d 1304, 1313 (2d Cir. 1997)).

Should the Court retroactively lift the stay, the Debtor would have no basis for the claims he is

asserting against Bank of America. Bank of America is not seeking that more sweeping relief in

this case, recognizing that the trustee will likely want to ascertain whether there is equity in the

Property that could be administered for the benefit of creditors. But the fact that grounds exist

for such relief counsels strongly in favor of the simpler remedy of denying Debtor’s Motion. 6

       Finally, even if the Court were to entertain Debtor’s claims, he is unable to recover any

damages from Bank of America. Section 362(k) of the Bankruptcy Code authorizes bankruptcy

courts to award both actual and punitive damages for violations of the automatic stay. Punitive

damages are clearly inappropriate in this case. Such damages should be awarded only “where

the stay violation was conducted in bad faith, with malice, or in a particularly egregious




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         Indeed, Debtor’s conduct was sufficiently egregious that, had it been discovered earlier,
it would have provided this Court with grounds to deny Debtor’s discharge. See, e.g., United
General Title Ins. Co. v. Karnasos, 561 B.R. 316, 330 (E.D.N.Y. 2016); Ng v. Adler, 518 B.R.
228, 241–242 (E.D.N.Y. 2014). And it is at least conceivable that section 727(a)(2)(B) would
now authorize revocation of the discharge. See In re Emery, 132 F.3d 892, 895–896 (2d Cir.
1998); In re Peterson, 356 B.R. 468, 476 (Bankr. N.D. Iowa 2006).
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manner.” In re Ebadi, 448 B.R. 308, 320 (E.D.N.Y. 2011). Bank of America’s actions in this

case in no way meet this standard. Rather, Bank of America conducted a foreclosure sale pf

property owned by debtor who had received a chapter 7 discharge, in a case—discovered by

Bank of America only days before the foreclosure sale—in which the chapter trustee had

previously filed a report indicating that no assets existed to be administered. It mistakenly, but

understandably, concluded that the automatic stay would not preclude a foreclosure sale in such

a situation. Upon discovery of its mistake, it promptly rescinded the foreclosure sale. Such a

good faith error does not warrant the imposition of punitive sanctions. Moreover, Debtor has no

plausible basis on which to seek actual damages. The Motion does not identify any specific

damages which Debtor claims to have suffered. The Property is not Debtor’s principal

residence. And Bank of America has already rescinded the foreclosure. Because Debtor has not

alleged any compensable harm, the Motion should be denied.

                                         CONCLUSION

       For the foregoing reasons, Bank of America respectfully requests that this Court deny

Debtor’s Motion.

                                                   Respectfully submitted
 Dated: July 20, 2018
                                                   /s/ Nancy L. Manzer
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